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                          IN THE UNITED STATES DISTRICT COURT
13                            FOR THE DISTRICT OF ARIZONA
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                                                        Case No. CV-16-04499-PHX-DLR
16   Martin J. Walsh,
      Secretary of Labor,
17    United States Department of Labor,
18                                                      PLAINTIFF’S REPLY TO
             Plaintiff,
19                                                      DEFENDANT ARIZONA
                   v.
                                                        LOGISTICS INC.’S OPPOSITION
20                                                      TO PLAINTIFF’S MOTION TO
21                                                      MODIFY THE SCHEDULING
     Arizona Logistics, Inc., d/b/a Diligent Delivery
                                                        ORDER TO CONDUCT LIMITED
22   Systems, an Arizona corporation; Larry
                                                        WRITTEN EXPERT DISCOVERY
     Browne, an individual; Parts Authority Arizona,
23                                                      AND TO DESIGNATE A
     LLC, an Arizona limited liability company.
                                                        REBUTTAL EXPERT
24
            Defendants.
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     PLAINTIFF’S REPLY TO DEFENDANT ARIZONA LOGISTICS INC.’S OPPOSITION TO
     PLAINTIFF’S MOTION TO MODIFY THE SCHEDULING ORDER TO CONDUCT LIMITED
     WRITTEN EXPERT DISCOVERY AND TO DESIGNATE A REBUTTAL EXPERT
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 1       I.   ARGUMENT
 2            Plaintiff Secretary of Labor’s (“Secretary”) Motion to Modify the Scheduling
 3   Order to Conduct Limited Written Expert Discovery And to Designate A Rebuttal Expert
 4   (“Motion”) should be granted for three reasons: First, no Defendant objected to Plaintiff’s
 5   request to designate a rebuttal expert. Instead, Arizona Logistics Inc. (“Diligent”), merely
 6   opposed Plaintiff’s request for written discovery as unnecessary—a misplaced argument
 7   the Secretary addresses herein.
 8            Second, Diligent’s position that “nothing could be learned from [expert] written
 9   discovery” is unfounded. For example, the Secretary requires limited written expert
10   discovery to access the underlying data Dr. White input into the third-party sites and used
11   to form his conclusions. Dr. White’s report relies on a “TCO calculator” from a third-party
12   site called “Edmunds.com.” See ECF No. 227-2, at 101-102.1 Exhibit 1 of Dr. White’s
13   second report “presents a chart showing the Edmunds fifth year TCO estimate per mile for
14   15 of the most commonly driven sedans in the United States, using only model year 2014
15   vehicles.” Id. However, there is no cite associated with Exhibit 1 that identifies any of the
16   data Dr. White used to create this chart. Indeed, the Secretary is completely unaware of
17   how or what information Dr. White used to determine which cars qualified as the “15 []
18   most commonly driven sedans in the United States.” The Secretary is not even clear as to
19   whether Dr. White selected the 15 vehicles himself, or if Edmunds.com created this list of
20   15 vehicles that Dr. White then relied upon to create Exhibit 1. If it is the former scenario,
21   the Secretary needs the data Dr. White used to select these 15 vehicles. If it is the latter
22   scenario, Dr. White failed to properly cite the sources so that the Secretary can attempt to
23   access this information from Edmunds.com. This example exemplifies why the Secretary
24   requires limited written discovery—to identify and understand the materials and data Dr.
25   White relied on in his second expert report, which may not all be publicly available as
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27   1
       The Secretary uses the ECF-stamped page numbering found on the top right section of
28   the filed document to cite specific portions of Dr. White’s report at ECF No. 227-2.
     PLAINTIFF’S REPLY TO DEFENDANT ARIZONA LOGISTICS INC.’S OPPOSITION TO
     PLAINTIFF’S MOTION TO MODIFY THE SCHEDULING ORDER TO CONDUCT LIMITED
     WRITTEN EXPERT DISCOVERY AND TO DESIGNATE A REBUTTAL EXPERT
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 1   Diligent argues. Diligent’s assertion that the Secretary “had a chance to conduct discovery
 2   on Dr. White and chose not to prior to the close of expert discovery” fails to acknowledge
 3   that Defendants are using Dr. White to testify on a different topic than they originally
 4   disclosed. Any discovery during the original expert discovery period would have been in
 5   vain because Dr. White had not offered an opinion on vehicle expenses at that time. As
 6   Diligent well knows, and as the basis for the Secretary’s Motion, the expert discovery
 7   cutoff date occurred more than two years before Defendants put forward Dr. White’s
 8   second expert opinion, which prejudiced Plaintiff and prevented him from issuing the
 9   necessary discovery on Dr. White. See ECF No. 260, at 4-5.2
10           Finally, this Court found that Defendants violated the expert disclosure deadlines—
11   contrary to Defendant’s position that its late expert disclosure was harmless—and the
12   Court attempted to remedy the prejudice to Plaintiff by reopening discovery to allow the
13   Secretary to depose Defendants’ expert on his newly disclosed opinions. To sufficiently
14   address the prejudice against Plaintiff, however, the Secretary as requested in his Motion
15   will need to issue limited written expert discovery and designate his own expert to rebut
16   the untimely opinion topics of vehicle cost, maintenance, depreciation, and the IRS rate of
17   reimbursement.
18           Defendant’s claim that the Secretary’s Motion is premature is merely
19   another attempt to delay. The Secretary filed his initial complaint on December 21, 2016
20   (ECF No. 1). More than five years has passed, and while the parties await the Court’s
21   consideration of the Secretary’s and the Defendants’ motions for summary judgment it is
22   imperative that the parties continue to prepare for trial. Delaying Plaintiff’s Motion will
23   not aid the parties in their obligation to move this case forward to resolution.
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27   2
      The Secretary also seeks and is entitled to request communications between Dr. White
28   and Defendants pursuant to Federal Rule of Civil Procedure 26(b)(4)(C)(i)-(iii).
     PLAINTIFF’S REPLY TO DEFENDANT ARIZONA LOGISTICS INC.’S OPPOSITION TO
     PLAINTIFF’S MOTION TO MODIFY THE SCHEDULING ORDER TO CONDUCT LIMITED
     WRITTEN EXPERT DISCOVERY AND TO DESIGNATE A REBUTTAL EXPERT
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 1   II.   CONCLUSION
 2         For the reasons stated herein, the Secretary respectfully requests that the Court
 3   grant his Motion to Modify the Scheduling Order to Conduct Limited Written Expert
 4   Discovery And to Designate A Rebuttal Expert.
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                                                 Respectfully submitted,
 6
 7   Dated: March 31, 2022                       SEEMA NANDA
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13                                               /s/ Paige B. Pulley
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     PLAINTIFF’S REPLY TO DEFENDANT ARIZONA LOGISTICS INC.’S OPPOSITION TO
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